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                                                    UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MINNESOTA

In re:          Bezerra, Abner Felipe                                                                     Case No.             23-40585
                                                                                                          CHAPTER 13 PLAN ❑
                                                                                                                          X Modified
Debtor.                                                                                                   Dated                05/09/2023
In a joint case, debtor means debtors in this plan.


Part 1. NOTICE OF NONSTANDARD PLAN PROVISIONS, SECURED CLAIM LIMITATIONS, AND LIEN OR SECURITY INTEREST
AVOIDANCE: Debtor must check the appropriate boxes below to state whether or not the plan includes each of the following items:

 1.1     A limit on the amount of a secured claim based on a valuation of the collateral for the              ❑   Included             ✔
                                                                                                                                       ❑    Not Included
         claim, set out in Parts 9 or 16

 1.2     Avoidance of a security interest or lien, set out in Part 16                                         ❑   Included             ✔
                                                                                                                                       ❑    Not Included

 1.3     Nonstandard provisions, set out in Part 16                                                           ✔
                                                                                                              ❑   Included             ❑    Not Included

Part 2. DEBTOR’S PAYMENTS TO TRUSTEE: The initial plan payment is due not later than 30 days after the order for relief, unless the
court orders otherwise.
2.1 As of the date of this plan, the debtor has paid the trustee             $1100.00          .
2.2 After the date of this plan, the debtor will pay the trustee:

             Plan payment                           Start MM/YYYY                              End MM/YYYY                                Total

                            $1,100.00                  05/2023                                     03/2028                                        $64,900.00

*                                                                                  TOTAL                                                          $66,000.00

                               ✔ 36 months or ❑ 60 months from the date of the initial plan payment unless all allowed claims are paid in a
2.3 The minimum plan length is ❑
    shorter time.
2.4 The debtor will also pay the trustee                                                                                      .
2.5 The debtor will pay the trustee a total of        $66,000.00        [lines 2.1 + 2.2 + 2.4].

Part 3. PAYMENTS BY TRUSTEE AND TRUSTEE’S FEES: Prior to confirmation of the plan, the trustee will pay from available funds payments
designated as Adequate Protection (“Adq. Pro.”) under Parts 8 and 9 to creditors with claims secured by personal property. All other funds will be
disbursed by the trustee following confirmation of the plan as soon as is practicable. The trustee will pay from available funds only creditors for
which proofs of claim have been filed. The trustee is not required to retain funds for any claim for which a proof of claim has not been timely filed
and may disburse those funds to other claimants. The trustee may collect a fee of up to 10% of plan payments, or $6,600.00 [line 2.5 x 0.10].

Part 4. EXECUTORY CONTRACTS AND UNEXPIRED LEASES (§ 365): The debtor assumes the following executory contracts or unexpired
leases. Debtor will pay directly to creditors all payments that come due after the date the petition was filed. Cure provisions, if any, are set forth in
Part 7.

                                         Creditor                                                            Description of property

 4.1     Renters Warehouse                                                            Residential Lease

Part 5. CLAIMS NOT IN DEFAULT: Payments on the following claims are current. The debtor will pay directly to creditors all payments that
come due after the date the petition was filed. The creditors will retain liens, if any.

                                         Creditor                                                            Description of property

 5.1     WE Florida Financial                                                         2022 Kia Stinger
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                                        Creditor                                                                   Description of property

 5.2   Ally Financial                                                                       2021 Kia Telluride

 5.3   Toyota Financial Services                                                            2018 Toyota CHR

Part 6. HOME MORTGAGES IN DEFAULT (§§ 1322(b)(5) AND 1322(e)): The trustee will pay the amount of default listed in the proof of claim
on the following claims secured only by a security interest in real property that is the debtor’s principal residence. The debtor will pay directly to
creditors all payments that come due after the date the petition was filed. The creditors will retain liens. All following entries are estimates.

                                                                                                                                 + amount paid
                                      Amount of              Monthly           Beginning                          Remaining        to date by        = Total
                Creditor                                                                       # of payments
                                       default               payment           in mo./yr.                         Payments       Trustee (mod       payments
                                                                                                                                   plan only)

 6.1   PennyMac Loan Services          $2,499.00               $990.00         08/2023                2           $1,980.00                          $2,499.00

                                                               $519.00         10/2023                1             $519.00

                TOTAL                                                                                                                                $2,499.00

Part 7. CLAIMS IN DEFAULT (§§ 1322(b)(3) AND (5) AND 1322(e)): The trustee will pay the amount of default listed in the proof of claim in the
amount allowed on the following claims. The debtor will pay directly to creditors all payments that come due after the date the petition was filed.
The creditors will retain liens, if any. All following entries are estimates, except for interest rate.

                                                                                                                                  + amount paid
                                                   Interest
                                    Amount of                     Beginning         Monthly             # of      Remaining         to date by       = Total
               Creditor                             rate (if
                                     default                      in mo./yr.        payment           payments    payments        Trustee (mod      payments
                                                     any)
                                                                                                                                    plan only)

                                                                                None

                TOTAL                                                                                                                                      $0.00

Part 8. SECURED CLAIMS SUBJECT TO MODIFICATION (“CRAMDOWN”) PURSUANT TO § 506 (§ 1325(a)(5)) The trustee will pay, the
amount set forth in the “Total Payments” column below on the following secured claims if a proof of claim is filed and allowed. Notwithstanding a
creditor’s proof of claim filed before or after confirmation, the amount listed in the secured claim amount column binds the creditor pursuant to 11
U.S.C. § 1327 and confirmation of the plan is a determination of the creditor’s allowed secured claim. For secured claims of governmental units,
unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with FRBP 3012(c) controls over
any contrary amount. Unless otherwise specified in Part 16, the creditors listed in this Part retain the liens securing their allowed secured claims
to the extent provided under 11 U.S.C. § 1325(a)(5)(B)(i). Any allowed unsecured portion of the claim will be paid under Part, 12, Part 13, or Part
14.

                                                                                                                                 + amount paid
                             Est.      Secured                    Adq.
                                                      Int.                Beginning         Monthly      # of      Remaining       to date by            =
           Creditor         Claim       claim                     Pro.
                                                      rate                in mo./yr.        payment    Payments    payments      Trustee (mod     Total payments
                           amount      amount                   (Check)
                                                                                                                                   plan only)

                                                                                None

           TOTAL                                                                                                                                           $0.00

Part 9. SECURED CLAIMS EXCLUDED FROM § 506 AND NOT SUBJECT TO MODIFICATION (“CRAMDOWN”) (§ 1325(a)) (910 vehicles
and other things of value) The trustee will pay the amount of the allowed secured claim listed in the proof of claim at the interest rate set forth
below. Any allowed unsecured portion of the claim will be paid under Part 12, Part 13, or Part 14. All following entries are estimates, except for
interest rate. Unless otherwise specified in Part 16, the creditors listed in this Part retain the liens securing their allowed secured claims to the
extent provided under 11 U.S.C. § 1325(a)(5)(B)(i).
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                                     Est.                                                                                      + amount paid
                                                            Adq.
                                   Secured     Int.                    Beginning    Monthly           # of      Remaining        to date by               =
             Creditor                                       Pro.
                                    Claim      Rate                    in mo./yr.   payment         Payments    payments       Trustee (mod        Total payments
                                                          (Check)
                                   amount                                                                                        plan only)

                                                                                  None

              TOTAL                                                                                                                                         $0.00

Part 10. PRIORITY CLAIMS (not including claims under Part 11): The trustee will pay in full all claims entitled to priority under § 507(a)(2)
through (a)(10), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount listed
in the proof of claim.

                                                                                                                                + amount paid to
                                                       Claim         Beginning      Monthly            # of      Remaining                             = Total
                        Creditor                                                                                                 date by Trustee
                                                      amount         in mo./yr.     payment          payments    payments                             payments
                                                                                                                                 (mod plan only)

 10.1   Walker & Walker Law Offices, PLLC             $2,988.00      04/2023             $990.00        3          $2,970.00                            $2,988.00

                                                                     07/2023              $18.00        1             $18.00

 10.2   Internal Revenue Service                                                         Pro-Rata                      $0.00                                $0.00

 10.3   Minnesota Department of Revenue                                                  Pro-Rata                      $0.00                                $0.00

                        TOTAL                                                                                                                           $2,988.00

Part 11. DOMESTIC SUPPORT OBLIGATION CLAIMS: The trustee will pay in full all domestic support obligation claims entitled to priority
under § 507(a)(1), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount
listed in the proof of claim.

                                                                                                                                + amount paid to
                                                       Claim         Beginning      Monthly            # of      Remaining                             = Total
                        Creditor                                                                                                 date by Trustee
                                                      amount         in mo./yr.     payment          payments    payments                             payments
                                                                                                                                 (mod plan only)

                                                                                  None

                        TOTAL                                                                                                                               $0.00

Part 12. SEPARATE CLASSES OF UNSECURED CLAIMS: In addition to the class of unsecured claims specified in Part 13, there shall be
separate classes of non-priority unsecured claims including the following. The trustee will pay the allowed portion of the nonpriority amount listed
in the proof of claim. All following entries are estimates.

                                                                                                                               + amount paid
                                        Unsecured        Interest
                                                                       Beginning      Monthly         # of      Remaining        to date by           = Total
                 Creditor                 claim           rate (if
                                                                       in mo./yr.     payment       Payments    payments       Trustee (mod          payments
                                         amount            any)
                                                                                                                                 plan only)

                                                                                  None

                 TOTAL                                                                                                                                      $0.00

Part 13. TIMELY FILED UNSECURED CLAIMS: The trustee will pay holders of allowed non-priority unsecured claims for which proofs of claim
were timely filed the balance of all payments received by the trustee and not paid under Parts 3, 6, 7, 8, 9, 10, 11, and 12 their pro rata share of
approximately       $53,913.00      [line 2.5 minus totals in Parts 3, 6, 7, 8, 9, 10, 11, and 12].
13.1 The debtor estimates that the total unsecured claims held by creditors listed in Part 8 and 9 are                  $0.00         .
13.2 The debtor estimates that the debtor's total unsecured claims (excluding those in Parts 8 and 9) are                   $47,020.00     .
13.3 Total estimated unsecured claims are             $47,020.00         [lines 13.1 + 13.2].
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Part 14. TARDILY-FILED UNSECURED CLAIMS: All money paid by the debtor to the trustee under Part 2, but not distributed by the trustee
under Parts 3, 6, 7, 8, 9, 10, 11, 12, and 13, will be paid to holders of allowed nonpriority unsecured claims for which proofs of claim were tardily
filed. Tardily filed claims remain subject to objection pursuant to 11 U.S.C. §502(b)(9).

Part 15. SURRENDER OF COLLATERAL AND REQUEST FOR TERMINATION OF STAY: The debtor has surrendered or will surrender the
following property to the creditor. The debtor requests that the stays under §§ 362(a) and 1301(a) be terminated as to the surrendered collateral
upon confirmation of the plan.

                                                                                                           Description of property
                                        Creditor
                                                                                          (including the complete legal description of real property)

                                                                        None

Part 16. NONSTANDARD PROVISIONS: The Trustee may distribute additional sums not expressly provided for herein at the trustee’s
discretion. Any nonstandard provisions, as defined in FRBP 3015(c), must be in this Part. Any nonstandard provision placed elsewhere in the
plan is void. Any request by the debtor to modify a claim secured only by a security interest in real property that is the debtor’s principal
residence must be listed in this Part and the debtor must bring a motion to determine the value of the secured claim pursuant to Local Rule
3012-1(a).

 1.       100% Plan
          This is a 100% plan. General unsecured, non-priority claims shall be paid in full.

 2.       1305 claims
          Pursuant to 11 U.S.C. Section 1305, a proof of claim may be filed by the IRS for taxes that become payable while the case is
          pending. The trustee shall only pay Section 1305 claims attributable to the taxable year in which the case concerning such debtor(s)
          was filed, and only to the extent funds are available.

 3.       Bonus
          The debtor(s) shall provide the trustee with copies of any pay stubs that reflect a bonus. Debtor(s) shall turn over net bonuses to the
          trustee within ten (10) days of receipt.

 4.       Post-Petition Consumer Debt
          Approval by the Bankruptcy Court or the Chapter 13 Trustee shall not be required prior to the debtor incurring a consumer debt while
          this case is pending, but the holder of the claim against the debtor based upon such debt is subject to § 1305.

 5.       Property taxes paid directly by debtor(s) outside of plan
          The debtor(s) or their mortgage servicer may pay property taxes directly to the county taxing authority when the property taxes
          become due.

 6.       Tax Refunds
          The debtor(s) shall be entitled to the first $1200 for an individual chapter 13 debtor and $2,000 for married chapter 13 debtors of
          each year's tax refunds. The balance shall be paid to the trustee as an additional plan payment. Any Earned Income Credit and
          Minnesota Working Family Credits shall be retained by the debtor(s). The debtors shall keep these credits in addition to the $1,200 or
          $2,000.

 7.       Surrender and Relief From Stay
          Upon the granting of relief from the automatic stay, the trustee shall cease payments on account of the secured portion of the
          applicable claim. For any claim arising from the granting of relief from the automatic stay, surrender, foreclosure, repossession, or
          return of any collateral to any creditor listed in Parts 5, 6, 7, 8, 9, 10, 16 or Non-standard provisions, for any reason, including plan
          modification, the trustee shall pay such claim as a general unsecured claim upon amendment of the applicable claim. Any alleged
          balance of any claim to such creditor shall be discharged upon the debtor(s) receiving a discharge in this case.

SUMMARY OF PAYMENTS

                                          Class of payment                                                              Amount to be paid

 Payments by trustee [Part 3]                                                                                                                    $6,600.00
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                                           Class of payment                                                      Amount to be paid

 Home mortgages in default [Part 6]                                                                                                      $0.00

 Claims in default [Part 7]                                                                                                           $2,499.00

 Secured claims subject to modification (cramdown) pursuant to § 506 [Part 8]                                                            $0.00

 Secured claims excluded from § 506 [Part 9]                                                                                             $0.00

 Priority claims [Part 10]                                                                                                            $2,988.00

 Domestic support obligation claims [Part 11]                                                                                            $0.00

 Separate classes of unsecured claims [Part 12]                                                                                          $0.00

 Timely filed unsecured claims [Part 13]                                                                                             $53,913.00

 TOTAL (must equal line 2.5)                                                                                                         $66,000.00

Certification regarding nonstandard provisions:
I certify that this plan contains no nonstandard
provision except as placed in Part 16.                                      Signed:              /s/ Abner Felipe Bezerra
                                                                                      Abner Felipe Bezerra
Signed:                  /s/ Andrew Walker                                            Debtor 1
          Andrew Walker
          Attorney for debtor
                                                                            Signed:
          Bar Number: 0392525
                                                                                      Debtor 2 (if joint case)
          Walker & Walker Law Offices, PLLC
          4356 Nicollet Ave
          Minneapolis, MN 55409
          Phone: (612) 824-4357
          Email: andrew@bankruptcytruth.com
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

In re: Bezerra, Abner                                            Case No. 23-40585
        Debtor(s)                                                Chapter 13 Case


               NOTICE OF CONFIRMATION HEARING AND NOTICE OF MODIFIED PLAN

To: Gregory Burrell, the U.S. Trustee, and other entities specified in Local Rule 1007-2(a):

   1. The debtor(s) have filed a preconfirmation modified plan and it will be considered at the
      confirmation hearing in this case set forth below.

   2. The court will hold a hearing on this motion at 10:30 am on 2023-06-01 in Courtroom 7 West
      located at 300 South Fourth Street, Minneapolis, MN, 55415 or remotely before the honorable
      Michael E. Ridgway.

   3. Any objection to this plan must be filed and served on or before 2023-05-30.




WHEREFORE, the Debtor(s) respectfully request(s) the Court to confirm the modified plan.

Dated: ​05/09/2023.                                       /s/ Andrew C. Walker
                                                          Andrew C. Walker #392525
                                                          Walker and Walker Law Offices, PLLC
                                                          Attorney for debtor(s)
                                                          4356 Nicollet Ave
                                                          Minneapolis, MN 55409
                                                          (612) 824-4357
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In re: Bezerra, Abner                                            Case No. 23-40585
        Debtor(s)

                                 UNSWORN CERTIFICATE OF SERVICE

       I, Jennifer Nelson , Declare under penalty of perjury that on ​05/09/2023, I mailed copies of the
foregoing Notice of Confirmation Hearing and Notice Of PreConfirmation Modified Plan by first class
mail, postage prepaid, or by electronic mail using ECF to each entity named below at the address
stated below for each entity.

United States Trustee
1015 U.S. Courthouse
300 South 4th Street
Minneapolis, MN 55415

Gregory Burrell
100 South 5th St. No. 480
Minneapolis, MN 55402

And creditors on the attached list



Executed on: ​05/09/2023                                /e/ Jennifer Nelson
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                                           United States Bankruptcy Court
                                                District Of Minnesota

In re   Bezerra, Abner Felipe                                               Case No.     23-40585

                                                                            Chapter      13
                   Debtor(s)




  Affirm, Inc.                             Ally Financial                     Bank of America
  650 California St 12th Floor,            PO Box 8105                        Po Box 982234
  San Francisco, CA 94108-2702             Cockeysville, MD 21030             El Paso, TX 79998-2234




  Capital One Bank (USA), N.A.             CBNA/THD                           COMENITY/ZALES
  Attn: General Correspondence             PO Box 6497                        Po Box 183003
  Po Box 30285                             Sioux Falls, SD 57117              Columbus, OH 43218-3003
  Salt Lake City, UT 84130-0285



  Internal Revenue Service                 JPMCB - CARD SERVICES              Minnesota Department of Revenue
  Po Box 7346                              301 N Walnut St Fl 09              551 Bkcy Section
  Philadelphia, PA 19101-7346              Wilmington, DE 19801-3971          Po Box 64447
                                                                              Saint Paul, MN 55164-0447



  PennyMac Loan Services                   Renters Warehouse                  Sergio Bezerra
  Attn Correspondence Unit                                                    2762 NW 5th St
  PO Box 5133                                                                 Okeechobee, FL 34972
  Thousand Oaks, CA 91359




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  SYNCB/TJX CO DC                              Toyota Financial Services          Upstart Network Inc
  PO BOX 965015                                Attn: Bankruptcy Dept              2950 S Delaware St Ste 300
  Orlando, FL 32896                                                               San Mateo, CA 94403-2580
                                               PO Box 8026
                                               Cedar Rapids, IA 52408-8026


  Walker & Walker Law Offices, PLLC            WE Florida Financial
  4356 Nicollet Ave                            1982 N State Rd 7
  Minneapolis, MN 55409                        Margate, FL 33063




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REVISED 12/15


                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA
In re: Bezerra, Abner                                                         Case No.
              Debtor(s)
                               SIGNATURE DECLARATION
         PETITION, SCHEDULES & STATEMENTS
         CHAPTER 13 PLAN
         VOLUNTARY CONVERSION, SCHEDULES & STATEMENTS
         AMENDMENT TO PETITION, SCHEDULES & STATEMENTS
     X   MODIFIED CHAPTER 13 PLAN
         OTHER: PLEASE DESCRIBE ______________________________

I [We] the undersigned debtor(s) or authorized representative of the debtor, make the
following declarations under penalty of perjury:

1. The information I have given my attorney for the electronically led petition, statements,
                                                                  fi
   schedules, amendments, and/or chapter 13 plan, as indicated above, is true and correct;
2. The Social Security Number or Tax Identi cation Number I have given to my attorney for
                                               fi
   entry into the court’s Case Management/Electronic Case Filing (CM/ECF) system as a part
   of the electronic commencement of the above-referenced case is true and correct;
3. [individual debtors only] If no Social Security Number was provided as described in
   paragraph 2 above, it is because I do not have a Social Security Number;
4. I consent to my attorney electronically ling with the United States Bankruptcy Court my
                                          fi
   petition, statements and schedules, amendments, and/or chapter 13 plan, as indicated
   above, together with a scanned image of this Signature Declaration;
5. My electronic signature contained on the documents led with the Bankruptcy Court has the
                                                         fi
   same effect as if it were my original signature on those documents; and

6. [corporate and partnership debtors only] I have been authorized to le this petition on behalf
                                                                       fi
     of the debtor.

Date:09-May-2023


x
Abner Bezerra
Printed name of Debtor 1 or Authorized Representative Printed Name of Debtor 2
